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                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION
ZOHO CORPORATION,                     §
                                      §
               Plaintiff,             §
                                      §
     v.                               § Civil Action No. 1:22-cv-37-LY
                                      §
LIBERTY PEAK VENTURES, LLC,           §
                                      §
               Defendant.             §
                                      §
                                      §
LIBERTY PEAK VENTURES, LLC,           §
                                      §
               Counterclaimant,       §
                                      §
     v.                               §
                                      §
ZOHO CORPORATION,                     §
                                      §
               Counter-Defendant,     §
                                      §
     and                              §
                                      §
ZOHO CORPORATION PVT. LTD.            §
                                      §
               Third-Party Defendant. §
                                      §


                         DECLARATION OF RYAN J. MARTON
                   IN SUPPORT OF ZOHO’S MOTION FOR LEAVE TO
                       SUPPLEMENT INVALIDITY CONTENTIONS


I, Ryan J. Marton, declare as follows:

       1.       I am an attorney licensed to practice law in the State of California and am a

partner with the law firm of Marton Ribera Schumann & Chang LLP, counsel for Plaintiff and

Counter-defendant Zoho Corporation and Third-Party Defendant Zoho Corporation Pvt. Ltd.

(“Zoho”) in this matter. I submit this declaration in support of Zoho’s Motion for Leave to




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Supplement Invalidity Contentions. I have personal knowledge of the facts set forth herein

unless otherwise indicated, and if called to testify, I could and would testify competently thereto.

         2.       On October 5, 2022, the parties exchanged their proposed terms for construction.

While preparing the claim construction disclosures, Zoho recognized additional § 112 issues with

several terms,1 and counsel for Zoho decided to prepare supplemental invalidity contentions

incorporating those terms. While doing so, counsel realized that they had erroneously left terms2

Zoho had previously identified as having section 112 issues out of the original invalidity

contentions and added them to the supplement.

         3.       On October 11, Zoho served the updated contentions on Liberty Peak and asked if

Liberty Peak objected to the supplementation.

         4.       On October 17, Liberty Peak asked for Zoho’s “good faith basis for amending,”

and Zoho informed Liberty Peak that it had inadvertently left the new § 112 issues out of the

original contentions, offered to confer with Liberty Peak and asked Liberty Peak to identify any

prejudice it would suffer from the supplemental contentions.

         5.       On October 19, counsel for Liberty Peak conferred with me and informed me that

Liberty Peak opposed Zoho’s proposed amendment.

         6.       Liberty Peak has not identified any undue prejudice it will suffer from Zoho’s

proposed supplemental invalidity contentions.

         7.       Attached as Exhibit A is a true and correct copy of Zoho’s Preliminary Invalidity

Contentions, served on September 12, 2022.


1
  Those terms are: “generating, via the browser toolbar” (’122 Patent, claim 7), “generating, at a browser toolbar”
   (’088 Patent, claim 1; ’901 Patent, claims 1 & 11), “determining, at a browser toolbar” (’122 Patent, claim 15;
   ’088 Patent, claim 15), “decrypting, at the browser toolbar” (’122 Patent, claim 15)
2
  Those terms are: “securely storing account information at the browser toolbar” (’122 Patent, claim 1) and “securely
   storing, by the browser toolbar, the account information at the browser toolbar” (’088 Patent, claim 1; ’901 Patent,
   claims 1 & 11), “inaccessible outside of the browser toolbar” (’122 Patent, claim 1), “maintained by the browser
   toolbar” (’122 Patent, claims 1 & 8)



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       8.       Attached as Exhibit B is a redline showing the differences between Zoho’s

Preliminary Invalidity Contentions and its Supplemental Invalidity Contentions.

       9.       Attached as Exhibit C is a true and correct copy of a scheduling order, Docket No.

61, in USB Bridge Solutions, LLC v. Avant Technology, Inc., 1:17-cv-01159-LY (W.D. Tex. Jun.

16, 2020).

       10.      Attached as Exhibit D is a true and correct copy of a scheduling order, Docket

No.55, in Incom Corp. v. Radiant RFID, LLC, CAUSE NO. 1-17-CV-009-LY (W.D. Tex. Nov.

15, 2018)

       11.      Attached as Exhibit E is a true and correct copy of a scheduling order, Docket No.

63, in Baker Hughes Oilfield Operations, Inc. v. Prod. Tool Sol., Civ. No. 1-17-CV-291-LY (W.D.

Tex. June. 11, 2020).



I declare under penalty of perjury under the laws of the United States of America that the

foregoing statements are true and correct. Executed this 21st day of October 2022 in San

Francisco, CA.

                                                      /s Ryan J. Marton
                                                       Ryan J. Marton




                                                 3
